Case 3:20-cr-20436-RHC-APP ECF No. 22, PagelD.57 Filed 10/29/20 Page 1 of 22

United States District Court
Eastern District of Michigan
Southern Division

United States of America,

Plaintiff,
Hon. Robert H. Cleland
Vv.
Case No. 20-cr-20436
Glen Richard Mousseau,

Defendant.
/

 

Plea Agreement

The United States of America and the defendant, Glen Richard
Mousseau, have reached a plea agreement under Federal Rule of
Criminal Procedure 11. The plea agreement’s terms are:

1. Counts of Conviction

The defendant will waive his right to an indictment and will plead
guilty to Count 2 and Count 4 of the Information. Count 2 charges the
defendant with Possession of Marijuana with Intent to Distribute under
21 U.S.C. § 841(a)(1). Count 4 charges the defendant with Unlawful Re-

entry After Removal under 8 U.S.C. § 13826(a).

Page 1 of 22
Case 3:20-cr-20436-RHC-APP ECF No. 22, PagelD.58 Filed 10/29/20 Page 2 of 22

2. Statutory Minimum and Maximum Penalties

The defendant understands that the counts to which he is

pleading guilty carry the following minimum and maximum statutory

 

 

 

 

 

 

penalties:
Count 2 Term of imprisonment: Up to 20 years’
Fine: Up to $1,000,000
Term of supervised release: | At least 3 years
Count 4 Term of imprisonment: Up to 20 years
Fine: Up to $250,000
Term of supervised release: | 1 to 3 years

 

 

 

 

 

The defendant further understands that the Court has the
discretion to run the sentences of imprisonment on the counts of
conviction consecutively to each other.

8. Agreement to Dismiss Remaining Charges

If the Court accepts this agreement and imposes sentence

consistent with its terms, the United States Attorney’s Office for the

Page 2 of 22
Case 3:20-cr-20436-RHC-APP ECF No. 22, PagelD.59 Filed 10/29/20 Page 3 of 22

Eastern District of Michigan will move to dismiss any remaining
charges in the Information against the defendant in this case.

4. Elements of Count[s] of Conviction

The elements of Count 2 are:
1. Defendant knowingly or intentionally possessed the
controlled substance marihuana as charged.
2. Defendant intended to distribute the marihuana that he
possessed.
The elements of Count 4 are:
1. Defendant is an alien (not a citizen or national of the
United States).
2. Defendant was excluded, deported, or removed from the
United States.
3. Defendant thereafter was found in the United States.
4. Defendant did not have the prior permission of the
Attorney General or the Secretary of the Department of
Homeland Security to reapply for admission into the

United States.

Page 3 of 22
Case 3:20-cr-20436-RHC-APP ECF No. 22, PagelD.60 Filed 10/29/20 Page 4 of 22

5. Factual Basis

The parties agree that the following facts are true, accurately
describe the defendant’s role in the offenses, and provide a sufficient
factual basis for the defendant’s guilty pleas to counts 2 and 4:

On or about December 13, 1995, Defendant, Glen Richard
Mousseau, was ordered excluded and deported from the United States.
On or about June 5, 2020 at approximately 2:35 a.m., within the
Eastern District of Michigan, Border Patrol Agents observed a boat
carrying Glen Richard Mousseau cross the international boundary into
the United States from Canada, east of Celeron Island. At the time of
his entry into the United States on or about June 5, 2020, Defendant
possessed marihuana. He did so knowing that the substance he
possessed was marihuana and with the intent to distribute it. The
weight of the marijuana exceeded 50 kilograms.

Defendant is not a citizen or national of the United States. After
crossing the international boundary into the United States on or about
June 5, 2020, Defendant was found in the United States, to wit: U.S.
Border Patrol agents found him floating in the water strapped to two

large bundles of marihuana. At the time Defendant was found in the

Page 4 of 22
Case 3:20-cr-20436-RHC-APP ECF No. 22, PagelD.61 Filed 10/29/20 Page 5 of 22

United States, he had not obtained the express consent of the Attorney
General or the Secretary of the Department of Homeland Security to re-
apply for admission to the United States following his exclusion on or
about December 13, 1995.

6. Advice of Rights

The defendant has read the Information, has discussed the
charges and possible defenses with his attorney, and understands the
crimes charged. The defendant understands that, by pleading guilty, he
is waiving many important rights, including the following:

A. The right to plead not guilty and to persist in that plea;

B. The right to a speedy and public trial by jury;

C. The right to the assistance of an attorney at every critical

stage of the proceedings, including trial;

D. The right to an appointed attorney, if the defendant cannot

afford to retain one;

E. The right to be presumed innocent and to require the

government to prove the defendant guilty beyond a reasonable

doubt at trial;

Page 5 of 22
Case 3:20-cr-20436-RHC-APP ECF No. 22, PagelD.62 Filed 10/29/20 Page 6 of 22

F. The right to confront and cross-examine adverse witnesses
at trial;

G. The right to testify or not to testify at trial, whichever the
defendant chooses;

H. Ifthe defendant chooses not to testify, the right to have the
jury informed that it may not treat that choice as evidence of guilt;
I. The right to present evidence or not to present evidence at
trial, whichever the defendant chooses; and

J. The right to compel the attendance of witnesses at trial.

7. Collateral Consequences of Conviction

The defendant understands that his conviction here may carry
additional consequences under federal or state law. The defendant
understands that, if he is not a United States citizen, his convictions
here may require him to be removed from the United States, denied
citizenship, and denied admission to the United States in the future.
The defendant further understands that the additional consequences of
his convictions here may include, but are not limited to, adverse effects
on the defendant's immigration status, naturalized citizenship, right to

vote, right to carry a firearm, right to serve on a jury, and ability to hold

Page 6 of 22
Case 3:20-cr-20436-RHC-APP ECF No. 22, PagelD.63 Filed 10/29/20 Page 7 of 22

certain licenses or to be employed in certain fields. The defendant
understands that no one, including the defendant’s attorney or the
Court, can predict to a certainty what the additional consequences of
the defendant’s conviction|[s] might be. The defendant nevertheless
affirms that the defendant chooses to plead guilty regardless of any
immigration or other consequences from his convictions.

8. Safety Valve

The parties agree that the defendant is not eligible for the safety
valve in 18 U.S.C. § 3553).

9. Defendant’s Guideline Range
A. Court’s Determination

The Court will determine the defendant’s guideline range at
sentencing.

B. Acceptance of Responsibility

The government recommends under Federal Rule of Criminal
Procedure 11(c)(1)(B) that the defendant receive a two-level reduction
for acceptance of responsibility under USSG § 3E1.1(a). Further, if the
defendant’s offense level is 16 or greater and the defendant is awarded

the two-level reduction under USSG § 3E1.1(a), the government

Page 7 of 22
Case 3:20-cr-20436-RHC-APP ECF No. 22, PagelD.64 Filed 10/29/20 Page 8 of 22

recommends that the defendant receive an additional one-level
reduction for acceptance of responsibility under USSG § 3E1.1(b). If,
however, the government learns that the defendant has engaged in any
conduct inconsistent with acceptance of responsibility—including, but
not limited to, making any false statement to, or withholding
information from, his probation officer; obstructing justice in any way;
denying his guilt on the offense(s) to which he is pleading guilty;
committing additional crimes after pleading guilty; or otherwise
demonstrating a lack of acceptance of responsibility as defined in USSG
§ 83E1.1—the government will be released from its obligations under
this paragraph, will be free to argue that the defendant not receive any
reduction for acceptance of responsibility under USSG § 3E1.1, and will
be free to argue that the defendant receive an enhancement for
obstruction of justice under USSG § 3C1.1.

C. Other Guideline Recommendations

The parties agree that, for sentencing purposes, USSG §
2D1.1(c)(9) or (c)(10) will apply (referencing marihuana in an amount

exceeding 60 kilograms but less than 100 kilograms).

Page 8 of 22
Case 3:20-cr-20436-RHC-APP ECF No. 22, PagelD.65 Filed 10/29/20 Page 9 of 22

The parties agree that USSG § 3B1.1 (Relating to a Defendant’s
Aggravating Role) may apply with respect to Count 2 but do not have
an agreement as to which subjection Defendant qualifies under, if any.
See USSG § 3B1.1(a) — (©) (setting forth a 2, 3, or 4 level enhancement,
depending upon the nature of the aggravating role). The parties agree
that at sentencing the Court will determine which if any subsection
applies to Defendant’s conduct.

The parties further agree that Defendant, a citizen and resident of
Canada, has foreign criminal history that will not affect the criminal
history calculation. See USSG §§ 4A1.2(h), 4A1.3(a)(2)(A). The
government may therefore argue and the Court may find that the
foreign criminal history warrants an upward departure. Id.

D. Factual Stipulations for Sentencing Purposes

The parties stipulate that the following facts are true and that the
Court may, but is not required to, rely on them in calculating the
defendant’s guideline range and imposing sentence: With respect to
Count 2, the parties stipulate that Defendant possessed in excess of 60
kilograms of marihuana, and further agree the government may argue

and present evidence that Defendant possessed more than 80 kilograms

Page 9 of 22
Case 3:20-cr-20436-RHC-APP ECF No. 22, PagelD.66 Filed 10/29/20 Page 10 of 22

of marihuana. However, the government will not argue that Defendant
possessed 100 kilograms or more of the same. With respect to Count 4,
the parties stipulate that Defendant was convicted of an aggravated
felony prior to his exclusion and removal from the United States on
December 13, 1995, to wit: On or about October 5, 1992, Defendant was
convicted of Possession of a Restricted Drug for the Purpose of
Trafficking under Section 48(2) F & D in or around Windsor, Ontario.

E. Parties’ Obligations

Both the defendant and the government agree not to take any
position or make any statement that is inconsistent with any of the
guideline recommendations or factual stipulations in paragraphs 9.B,
9.C, or 9.D. Other than the guideline recommendations and factual
stipulations in those paragraphs, however, neither party is restricted in
what it may argue or present to the Court as to the defendant’s
guideline calculation.

F. Nota Basis to Withdraw

The defendant understands that he will have no right to withdraw
from this agreement or withdraw his guilty plea if he disagrees, in any

way, with the guideline range determined by the Court, even if that

Page 10 of 22
Case 3:20-cr-20436-RHC-APP ECF No. 22, PagelD.67 Filed 10/29/20 Page 11 of 22

guideline range does not incorporate the parties’ recommendations or
factual stipulations in paragraphs 9.B, 9.C, or 9.D. The government
likewise has no right to withdraw from this agreement if it disagrees
with the guideline range determined by the Court.

10. Imposition of Sentence
A. Court’s Obligation

The defendant understands that in determining his sentence, the
Court must calculate the applicable guideline range at sentencing and
must consider that range, any possible departures under the sentencing
guidelines, and the sentencing factors listed in 18 U.S.C. § 3553(a), and
apply any applicable mandatory minimums.

B. Imprisonment

1. Recommendation
Under Federal Rule of Criminal Procedure 11(c)(1)(B), the
government recommends that the defendant’s sentence of imprisonment
not exceed the midpoint of the defendant’s guideline range as
determined by the Court on Count 2 (inclusive of any upward departure

the Court may determine is warranted on account of the defendant’s

Page 11 of 22
Case 3:20-cr-20436-RHC-APP ECF No. 22, PagelD.68 Filed 10/29/20 Page 12 of 22

foreign criminal history) and the government recommends a concurrent
sentence of the same with respect to Count 4.
2. No Right to Withdraw

The government’s recommendation in paragraph 10.B.1 is not
binding on the Court. The defendant understands that he will have no
right to withdraw from this agreement or withdraw his guilty plea if the
Court decides not to follow the government’s recommendation. The
government likewise has no right to withdraw from this agreement if
the Court decides not to follow the government’s recommendation. If
however, the Court rejects or purports to reject any other term or terms
of this plea agreement, the government will be permitted to withdraw
from the agreement.

C. Supervised Release
1. Recommendation

Under Federal Rule of Criminal Procedure 11(c)(1)(B), the parties
recommend that the Court impose a 3 year term of supervised release.

2. No Right to Withdraw

The parties’ recommendation is not binding on the Court. The

defendant understands that he will have no right to withdraw from this

Page 12 of 22
Case 3:20-cr-20436-RHC-APP ECF No. 22, PagelD.69 Filed 10/29/20 Page 13 of 22

agreement or withdraw his guilty plea if the Court decides not to follow
the parties’ recommendation. The defendant also understands that the

government's recommendation concerning the length of the defendant's
sentence of imprisonment, as described above in paragraph 10.B.1, will
not apply to or limit any term of imprisonment that results from any

later revocation of the defendant’s supervised release.

D. Fines

There is no recommendation or agreement as to a fine.

E. Restitution

The Court may order that the defendant make restitution to any
victim of the offense described in Count 2. 18 U.S.C. § 3663(a)(1)(A).
There is no recommendation or agreement on restitution. The Court
will determine at sentencing who the victims are, if any, and the
amounts of restitution they are owed.

The defendant agrees that restitution, if ordered, is due and
payable immediately after the judgment is entered and is subject to
immediate enforcement, in full, by the United States. 18 U.S.C. §§
3612(c) and 3613. If the Court imposes a schedule of payments, the

defendant agrees that the schedule of payments is a schedule of the

Page 13 of 22
Case 3:20-cr-20436-RHC-APP ECF No. 22, PagelD.70 Filed 10/29/20 Page 14 of 22

minimum payment due, and that the payment schedule does not
prohibit or limit the methods by which the United States may
immediately enforce the judgment in full.

The defendant agrees to make a full presentence disclosure of his
financial status to the United States Attorney’s Office by completing a
Financial Disclosure Form and the accompanying releases for the
purpose of determining his ability to pay restitution. The defendant
agrees to complete and return the Financial Disclosure Form within
three weeks of receiving it from government counsel. The defendant
agrees to participate in a presentencing debtor’s examination if
requested to do so by government counsel.

F. Forfeiture

The defendant agrees, pursuant to 18 U.S.C. § 853(a), to forfeit to
the United States his interest in the following assets:

A. Any property, real or personal, constituting, or derived from,
any proceeds obtained, directly or indirectly, as a result of the violation
of 21 U.S.C. § 841 as charged in Count Two of the Information; and

B. Any property, real or personal, used, or intended to be used,

in any manner, to commit, or to facilitate the commission of, the

Page 14 of 22
Case 3:20-cr-20436-RHC-APP ECF No. 22, PagelD.71 Filed 10/29/20 Page 15 of 22

violation of 21 U.S.C. § 841, as charged in Count Two of the

Information. Such property includes, but is not limited to:

One dry suit;

One iPhone;

One Alcetal cell phone;

One harness:

One tow strap; and

One Seabob diver propulsion device.

The defendant further acknowledges that on or about May 10,

2020, he was found with $97,060 in U.S. Currency. The defendant

stipulates that the currency was used, or intended to be used, in any

manner, to commit, or to facilitate the commission of, a controlled

substance offense, in violation of Subchapter I, II, or both of Chapter 13,

Title 21, United States Code. Additional, that currency was property

involved in a conspiracy to smuggle bulk cash, in violation of 18 U.S.C.

§ 371. Accordingly, the defendant agrees that the property is subject to

forfeiture pursuant to 21 U.S.C. § 853, 31 U.S.C. § 5317, or both.

The defendant further agrees that he will cooperate with the

government by taking whatever steps are necessary to deliver clear title

Page 15 of 22
Case 3:20-cr-20436-RHC-APP ECF No. 22, PagelD.72 Filed 10/29/20 Page 16 of 22

to the aforementioned property to the United States and will execute
such legal documents as may be required to transfer rights, title, and/or
ownership to the United States and by taking whatever steps are
necessary to ensure that the property is not sold, disbursed, hidden,
wasted, or otherwise made unavailable for forfeiture. The defendant
further agrees not to contest the administrative forfeiture of that
property. The defendant agrees to the entry of one or more orders of
forfeiture of his interest in such property upon application by the
United States at, or any time before, his sentencing in this case as
mandated by Federal Rule of Criminal Procedure 32.2. The defendant
agrees to sign such orders, indicating he consents to its entry if
requested to do so by the Government. The defendant agrees that the
forfeiture order(s) will become final as to him at the time entered by the
Court,

The defendant agrees that he will cooperate with the United
States by taking whatever steps are necessary to deliver clear title to
property subject to forfeiture under this agreement to the United States
and will execute such legal documents as may be required to transfer

rights, title, and/or ownership to the United States and by taking

Page 16 of 22
Case 3:20-cr-20436-RHC-APP ECF No. 22, PagelD.73 Filed 10/29/20 Page 17 of 22

whatever steps are necessary to ensure that the property is not sold,
disbursed, hidden, wasted, or otherwise made unavailable for forfeiture.
The defendant further agrees not to contest the administrative
forfeiture of any items subject to forfeiture as set forth above, whether
or not those items are specifically identified in this agreement.

In entering into this agreement with respect to forfeiture, the
defendant knowingly, voluntarily, and intelligently waives all
constitutional and statutory challenges in any manner (including direct
appeal, habeas corpus, or any other means) to any forfeiture carried out
in accordance with this Plea Agreement on any grounds, including any
Double Jeopardy challenge or other challenge to the above-described
forfeiture based upon the Excessive Fines Clause of the Eighth
Amendment to the United States Constitution.

The defendant expressly waives his right to have any
determination regarding the forfeitability of the property referenced
above whether by judge or by a jury under Federal Rule of Criminal
Procedure Rule 32.2. The defendant further waives the requirements of

Rule 32.2 regarding notice of forfeiture in the charging instrument,

Page 17 of 22
Case 3:20-cr-20436-RHC-APP ECF No. 22, PagelD.74 Filed 10/29/20 Page 18 of 22

announcement of forfeiture at sentencing, and incorporation of the
forfeiture in the judgment.

The defendant acknowledges that he understands that the
forfeiture of assets is part of the sentence that may be imposed in this
case and waives his right to challenge any failure by the court to advise
him of this pursuant to Federal Rule of Criminal Procedure 11(b)(1)(J).

G. Special Assessment

The defendant understands that he will be required to pay a
special assessment of $200, due immediately upon sentencing.

11. Appeal Waiver

The defendant waives any right he may have to appeal his
conviction on any grounds. If the defendant’s sentence of imprisonment
does not exceed the top of the guideline range determined by the Court,
the defendant also waives any right he may have to appeal his sentence
on any grounds.

12. Collateral Review Waiver

The defendant retains the right to raise claims alleging ineffective
assistance of counsel, as long as the defendant properly raises those

claims by collateral review under 28 U.S.C. § 2255. The defendant also

Page 18 of 22
Case 3:20-cr-20436-RHC-APP ECF No. 22, PagelD.75 Filed 10/29/20 Page 19 of 22

retains the right to pursue any relief permitted under 18 U.S.C.

§ 3582(c), as long as the defendant properly files a motion under that
section. The defendant, however, waives any other right he may have to
challenge his conviction or sentence by collateral review, including, but
not limited to, any right he may have to challenge his conviction or
sentence on any grounds under 28 U.S.C. § 2255, 28 U.S.C. § 2241, or
Federal Rule of Civil Procedure 59 or 60.

138. Consequences of Withdrawal of Guilty Plea or Vacation of
Judgment

If the defendant is allowed to withdraw his guilty plea(s), or if the
defendant’s conviction or sentence under this agreement is vacated, the
government may reinstate any charges against the defendant that were
dismissed as part of this agreement and may file additional charges
against the defendant relating, directly or indirectly, to any of the
conduct underlying the defendant’s guilty plea or any relevant conduct.
If the government reinstates any charges or files any additional charges
as permitted by this paragraph, the defendant waives his right to

challenge those charges on the ground that they were not filed in a

Page 19 of 22
Case 3:20-cr-20436-RHC-APP ECF No. 22, PagelD.76 Filed 10/29/20 Page 20 of 22

timely manner, including any claim that they were filed after the

limitations period expired.

14. Use of Withdrawn Guilty Plea

The defendant agrees that if he is permitted to withdraw his
guilty plea for any reason, he waives all of his rights under Federal
Rule of Evidence 410, and the government may use his guilty plea, any
statement that the defendant made at his guilty plea hearing, and the
factual basis set forth in this agreement, against the defendant in any
proceeding.

15. Parties to Plea Agreement

This agreement does not bind any government agency except the
United States Attorney’s Office for the Eastern District of Michigan.

16. Scope of Plea Agreement

This plea agreement is the complete agreement between the
parties and supersedes any other promises, representations,
understandings, or agreements between the parties concerning the
subject matter of this agreement that were made at any time before the
guilty plea is entered in court. Thus, no oral or written promises made

by the government to the defendant or to the attorney for the defendant

Page 20 of 22
Case 3:20-cr-20436-RHC-APP ECF No. 22, PagelD.77 Filed 10/29/20 Page 21 of 22

at any time before the defendant pleads guilty are binding except to the
extent they have been explicitly incorporated into this plea agreement.
If the parties have entered, or subsequently enter, into a written proffer
or cooperation agreement, though, this plea agreement does not
supersede or abrogate the terms of that agreement. This plea
agreement also does not prevent any civil or administrative actions
against the defendant, or any forfeiture claim against any property, by
the United States or any other party.

17. Acceptance of Agreement by Defendant

This plea offer expires unless it has been received, fully signed, in
the United States Attorney’s Office by 5:00 p.m. on 09/16/2020. The
government may withdraw from this agreement at any time before the

defendant pleads guilty.

Page 21 of 22
Case 3:20-cr-20436-RHC-APP ECF No. 22, PagelD.78 Filed 10/29/20 Page 22 of 22

Matthew Schneider
United States Attorney

 

Michael Martin Jonathan Goulding
Chief, National Security Unit Assistant United States Attorney
Assistant United States Attorney

Dated: 09/30/2020

By signing below, the defendant and his attorney agree that the
defendant has read or been read this entire document, has discussed it
with his attorney, and has had a full and complete opportunity to confer
with his attorney. The defendant further agrees that he understands
this entire document, agrees to its terms, has had all of his questions
answered by his abbonnay, and is satisfied with his attorney’s advice and

representation. i

  

 

is
Victor Mansour cits Richard Mousseau
Attorney for Defendant —
Dated: at (6/2039

Page 22 of 22
